       Case 6:10-cr-10178-JTM          Document 102        Filed 04/14/11      Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )      No. 10-10178-02-WEB
                                              )
CHARLETTE FAYE BLUBAUGH,                      )
                                              )
                       Defendant.             )
                                              )


                                    Memorandum and Order

       This matter came before the court for a sentencing hearing on April 14, 2011. This

written memorandum will supplement the court’s oral rulings at the hearing concerning the

defendant’s objections to the Presentence Report (PSR).

       The defendant initially filed 14 objections to the PSR, but she subsequently filed notice

that she was withdrawing her objections as to the amount of loss from the offense. See Doc. 91.

The court determined that it need not rule on the remainder of the objections because they would

not affect the applicable guideline range and would not affect the sentence. Defendant agreed,

conceding that she was not challenging the calculation of the guideline range in the PSR.

Further, defendant clarified that she was requesting a sentence of 57 months, at the low end of

the advisory guideline range. Cf. Doc. 96. The Government recommended a sentence of 57

months.

       Based on the factors in 18 U.S.C. § 3553(a), the court determined that a sentence of 57

months’ imprisonment, together with the other terms and conditions stated at the sentencing

hearing, represents a sentence sufficient but not greater than necessary to achieve the statutory
       Case 6:10-cr-10178-JTM          Document 102         Filed 04/14/11      Page 2 of 2




purposes of sentencing. This sentence is necessary to reflect the seriousness of the offense, to

provide just punishment, to promote respect for the law, and to avoid unwarranted sentencing

disparities with other individuals convicted of similar offenses.

       Conclusion.

       Defendant’s objections to the Presentence Report are denied as moot. The Probation

Officer in charge of this case shall see that a copy of this order is appended to any copy of the

Presentence Report made available to the Bureau of Prisons. IT IS SO ORDERED this             14th

Day of April, 2011, at Wichita, Ks.


                                              s/Wesley E. Brown
                                              Wesley E. Brown
                                              U.S. Senior District Judge




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